                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                       *   CRIMINAL NO. SA-17-CR-381-DAE
                                                *
        Plaintiff,                              *
                                                *   UNITED STATES DISTRICT JUDGE
v.                                              *   DAVID ALAN EZRA
                                                *
CARLOS I. URESTI (1);                           *   MAGISTRATE JUDGE
STANLEY P. BATES (2); and                       *   HENRY J. BEMPORAD
GARY L. CAIN (3);                               *
                                                *
        Defendants.                             *


                DEFENDANT CARLOS I. URESTI’S EXHIBIT LIST

Exhibit  No.                        Description                         Offered   Admitted  
  1            SB  to  CU  email  Re  Broker  Agreement                                
  2            SB  to  CU  email  –  proposal  for  a  capital                         
               Investor  
  3            CU  to  SB  email  -­‐‑  Uresti  reviews  and  edits                     
               FW  standard  JVA.  
  4            Standard  JVA  email  attachment  to  Ex.  3                             
  5            SB  to  CU,  MA  email  Fwd  fwll  llc  dep                              
               account  bal  summary  
  6            Chase  Deposit  Account  Balance  Summary  -­‐‑                          
               altered  
  7            CA  to  CU  SB  GC  SS  email  Re  FW  Cecil                             
               Abrea  FWLL  NCND  
  8            SB  to  CU  email  052114  FWLL  Spot  Selling                           
               Investment  
  9            MOU  and  FOUR  WINDS  changed                                           
               document  
  10           FWLL  Spot  Selling  Investment  document                                
  11           Sand  &  Silos  proforma  spreadsheet                                    
  12           KB  to  CU  email  012815  Fwd-­‐‑  Delinquent                           
               Accounts  
  13           RT  to  GH  CU  HN  email  Items  we  discuss                            
               concerning  Four  Winds  
14     SB  to  CU  BL  email  EmFracExchange  Sand                    
       Mine  &  Fourwinds  Agreement  signed  
15     LJ  to  CU  email  escrow  agreement                           
16     2013  Texas  Tribune  Festival  Energy                         
       Regulating  audio  file  
17     2014  Texas  Tribune  Festival  Deconstructing                 
       the  Boom  energy  regulating  audio  file  
18     2015  Texas  Tribune  Festival  Is  The  Boom                  
       Over  audio  file  
19     Canales  and  SB  text  messages                               
20     LJ  and  SB  text  messages                                    
21     Cantu  Text  Extraction  Report                                
22     AM  and  SB  email  Due  Diligence  Expense                    

23     SB  to  BL  AM  email  042414  Fwd  FWLL,                      
       LLC.  Operating  Budget  5-­‐‑2014  
24     Email  attachment  to  Ex  23  FWLL  Overhead                  
       and  Operating  Budget  
25     Email  attachment  to  Ex  14  Sand  Supply                    
       Agreement  with  FracXchange  document  
26     Carlos  Uresti  Jr  Grand  Jury  Transcript                    

27     CU  to  KB  email  Re  Confidential  minimum                   
       of  $200  million  funding  
28     CU  to  RM  email  Re  Thoughts  &  an  Update                 
29     CU  and  MH  Email  061616  FW  carlos  profit                 
       sharing.pdf  
30     Email  attachment  to  Ex  28  Carlos  profit                  
       sharing  spreadsheet  
31     Four  Winds  Group,  LLC  Corporate                            
       Governing  Documents  
32     Advertisement  for  B&B  Marketing                             
33     SB  to  AM  email  050114  Re  Initial  Funding                
       Request  
34     Email  attachment  to  Ex  33  FWLL,  LLC  5-­‐‑               
       2014  Overhead  spreadsheet  
35     SB  to  CU  email  response  to  Ex  2  Basic                  
       Performa  -­‐‑  FWLL,  LLC.  30  50  Frac  Sand  
       Investment  
36     CU  to  SB  email  FOURWINDS                                        
37     SB  to  CU  MA  email  Powerpoint                                   
       Presentation  FourWinds  Logistics  -­‐‑  SATX  
38     038_Email  attachment  to  Ex  37  FourWinds                        
       Logistics  -­‐‑  SATX  powerpoint  
39     SB  CU  email  Response  to  Ex  37  Re                             
       FourWinds  Logistics  -­‐‑  SATX  
40     SB  to  EN  email  fwll  llc  dep  account  bal                     
       summary  
41     SB  to  EN  email  attachment  to  Ex  40  fwll  llc                
       dep  account  bal  summary  document  
42     EN  to  SB  B  email  Account  Summary                              
43     Email  attachment  to  Ex  42  fwll  llc  dep                       
       account  bal  summary  document  
44     SB  to  CU  email  JVA  for  FWL-­‐‑DC                              
45     Email  attachment  to  Ex  44  FWL-­‐‑DC  JV                        
       Agreement  document  
46     CU  and  SB  email  Re  Broker  Agreement                           
47     SB  to  CU  email  Proof  of  Funds  FWLL  &                        
       Excuted  Escrow  
48     CU  to  SB  email  Fwd  JVA  for  FWL-­‐‑DC                         
49     FourWinds  Logistics  Corporate  Governing                          
       Documents  
50     RS  RP  SB  TR  email  FW  Documents  and                           
       Subpoena  
51     Email  attachment  to  Ex  50  Chase  Deposit                       
       Account  Summary  102114  
52     Email  attachment  to  Ex  50  JPMorgan  Chase                      
       Deposit  Account  Balance  Summary  
53     Email  attachment  to  Ex  50  JP  Morgan  Chase                    
       Account  Balance  Summary  
54     Email  attachment  to  Ex  50  Chase  Deposit                       
       Account  Balance  (0112)  
55     Email  attachment  to  Ex  50  Chase  Deposit                       
       Account  Balance  03042015  
56     Email  attachment  to  Ex  50  Chase  Deposit                       
       Account  Balance  
57     FWLL,  LLC  Corporate  Governing                                    
       Documents  
58     Email  attachment  to  Ex  47  McStay  Proof  of                
       Funds  -­‐‑  FWLL  
59     DS  to  DN  SB  email  Fwd  Return  of  Escrow                  
60     DN  to  DS  SB  email  Fwd  Return  of  Escrow                  
61     Bates  Military  Experience  document                           
62     Letter  Copeland  to  Nelson                                    
63     Julio  Reyes  document                                          
64     DN  to  DS  SB  email  Fwd  RE  Return  of                      
       Escrow  
65     DS  SB  email  Fwd  Return  Calls                               
66     DC  CU  emails  120214  re  Breakdown  Report                   
67     Acct  #  0402  Documents  FWL  SRT  LLC  Bank                   
       Records  
68     FourWinds  DC  JVA  signed                                      

69     Email  attachment  to  Ex  47  Proof  of  Funds                 
       Chase  
70     FWLL-­‐‑ZSV  JVA                                                
71     JVA  -­‐‑  FW  Maverick  Sands                                  
72     JVA  -­‐‑  FW  ZSV                                              
73     JVA  FWL-­‐‑MX                                                  

74     SB  Texts,  Visual  of  Ex  19                                  
75     Bates  military  experience  document                           
76     Bates  Arrest  document                                         
77     DS  SB  emails  Fwd_  Return  Calls                             
78     Bank  Records  JP  Morgan  Chase  FWLL                          
       Operating  Account  
79     Bank  Records  FWL-­‐‑DC                                        
80     Email  attachment  to  Ex  47  FWLL  Escrow                     
       and  Disbursement  Agreement  
81     JVA  -­‐‑  FWL-­‐‑MAV                                           
82     text  messages  EN  2014-­‐‑2016                                
83     Email  attachment  to  Ex  47  FWLL-­‐‑Executed                 
       Escrow  Agreement.pdf  
84     SB  to  MA  CU  email  FWLL  Spot  Selling                      
       Investment  
85     Email  attachment  to  Ex.  84  FWLL  Spot                      
       Selling  Investment  
86      SB  to  MA  CU  email  FWLL  Business                            
        Overview  
87      Email  attachment  to  Ex  86  FWLL  Business                    
        Overview  
88      SB  to  MA  CU  email  Letter  to  Stream  Realty                
89      Email  attachment  to  Ex  88  Letter  to  Stream                
        Realty  
90      Response  to  Ex  88  Re  Letter  to  Stream                     
        Realty  
91      EN  to  CU  SB  email  FourWinds  Logistics                      
        Documents  
92      SB  to  RV  email  re  Cease  and  Desist  NOW                   
        FourWinds  Logistics  
93      Halliburton  Memo  E  Angelle  to  Munster                       
94      CU  to  GC  email  Re  Mexican  banker  charged                  
        in  bilking  is  collared  in  S.A  
95      CU  to  GC  email  Re  Scanned  image  from                      
        MXC402SC  
96      EN  to  CU  email  NCND  &  NCA                                  
97      Email  attachment  to  Ex  96  FWL-­‐‑SATX                       
        NCND  Blank  
98      Email  attachment  to  Ex  96  FWL-­‐‑SATX  Non                  
        Compete  Blank  
99      JVA  between  FWL-­‐‑MX  LLC  and  Impulsa                       
        International  FWL  LLC  
100     100_Referral  Agreement  Fourwinds                               
        Logistics  Laredo,  LLC  and  CU,  MA  and  GH  
101     FW  MOU  FLOWCHART  3  NEWCO                                     
        Diagram  
102     FW  MOU  FLOWCHART  v2  NEWCO                                    
        Diagram  
103     EN  to  FWL  employees  email  Frac  Sand  Fire                  
        Sale  Ad  
104     Email  attachment  to  Ex  103  FWLL  Frac                       
        Sand  Sale  image  
105     EN  to  GC  email  Select  Sand  MOU  (Millett)                  
106     Email  attachment  to  Ex  106  FWLL  Select                     
        Sands  MOU  
107     EN  to  GC  email  Psamathe  MOU                                 
108     Email  attachment  to  Ex  107  Psamathe                             
        FWLL  MOU  0130  
109     EN  to  GC  email  Re:  MOU                                          
110     FW  MOU  FLOWCHART.3  NEWCO                                          
        Diagram  
111     SB  to  HV  GH  CU  MA  FA  email  FourWinds                         
        Logistics,  LLC.  -­‐‑  Investor  Package  
112     Email  attachment  to  Ex  111  FWL-­‐‑DC  JV                        
        Agreement  
113     Email  attachment  to  Ex  111  Deposit  of                          
        escrow  FWLL  5-­‐‑2014  -­‐‑  Proof  Of  Deposit  
114     Email  attachment  to  Ex  111  Chase  Proof  of                     
        Funds  -­‐‑  FWLL,  LLC  
115     Email  attachment  to  Ex  111  ELC-­‐‑Standard                      
        Escrow  Agreement  -­‐‑  Form  (2)  -­‐‑  WTF  
116     RM  CU  JH  email  073116  Re  Thoughts  &  an                       
        Update  
117     RM  CU  email  071916  RE  Re  Thoughs  &  an                        
        Update  
118     Equity  Liaison  Company  Acct  No.  0373                            
        Bank  Record  
119     Halliburton  Daily  Inventory  Load  out                             
        Report  
120     Halliburton  Daily  Inventory  Load  out                             
        Report  
121     CG  to  Halliburton  email  031915  RE  Load                         
        out  update  FWLL  
122     CG  to  FourWinds  employees  emails  031115                         
        Halliburton  update  
123     SB  LJ  texts  021315-­‐‑110315                                      
124     FD  302  -­‐‑  re  Uresti  contacting  FBI  re  fraud                
125     FWL-­‐‑DC  Sand  Breakdown  document                                 
126     Picture  of  FWLL  "ʺWar  Room"ʺ  white  board                       
127     Laura  Jacobs  Note                                                  
128     84  Session  Vetoes  of  Legislation  071615                         
        document  
129     84th  Texas  Legislative  Session  Good  for  Oil,                   
        Gas  and  Eagle  Ford  SHALE  Oil  &  Gas  
        Business  Magazine  article  
130     A  World  of  Opportunity  SHALE  Oil  &  Gas                            
        Business  article  
131     Acct  #2435  bank  records  FWL  Operating                               
        Acct  (Frost)  
132     Acct  #  7611  Deposits  (Print  14,  18,  20-­‐‑22,  25,                
        49,  59,  73)  FWL  Bank  records  
133     Acct  #  7611  Deposits  (Print  30-­‐‑31,  40-­‐‑41)                    
        FWL  Bank  records  
134     Acct  #  7611  Statements  (Print  6,  10,  13,  17,                     
        21,  25,  30,  36,  42)  FWL  Bank  Records  
135     Acct  #  7611  Wires  (Credits)  FWL  Bank                               
        Records  
136     Bank  Statement  Metadata  Screenshots                                   
137     Canales  Expert  Report                                                  
138     Energy  Update  State  Senator  Carlos  Uresti  -­‐‑                     
        Texas  Senate  District  19  website  
139     article  Drillers  look  to  technology  in  quest                       
        for  fuel  -­‐‑  Houston  Chronicle  
140     article  Eagle  Ford  Shale  generated  $87+                             
        billion  in  economic  output  for  Texas  in  2013  
141     Energy  Update  State  Senator  Carlos  Uresti  -­‐‑                     
        Texas  Senate  District  19  website  
142     FWL-­‐‑AMD  Acct.  4190  Checks  (Print  47)                             
        bank  records  
143     AM  letter  FWLL  (2014-­‐‑04-­‐‑29)  Initial                            
        Investment  
144     FWLL  (2014-­‐‑05-­‐‑23)  $1,500  Bates  purchase                        
        document  
145     Financial  Records  of  Repayment  Bank                                  
        Records  
146     Four  Winds  Group  Corporate  Governing                                 
        Documents  
147     FWL  Operating  Acct  8761  (Chase)  bank                                
        records  
148     FWL  Acct  9687  bank  records                                           
149     Frac  Sand  Demand  on  Fire  in  2017  graphic                          
150     Gavel  falls  on  a  great  session  for  Sen.                           
        Uresti-­‐‑  Sen.  Uresti  website  
151     Governor'ʹs  Small  Business  Forum  to  discuss                    
        opportunities  in  the  Eagle  Ford  Shale  article  
152     Gravel  road  conversions  offer  wakeup  call                      
        on  transportation  needs    
153     Hunters  Needed  -­‐‑  State  Senator  Carlos                       
        Uresti  website  
154     In  The  Heart  Of  The  Eagle  Ford  Shale,  The                   
        Roads  To  Perdition-­‐‑Sen  Uresti  website  
155     In  The  Oil  Patch  Sen.  Carlos  Uresti  (ep.  75)                
        SHALE  Oil  &  Gas  Business  Magazine  
        article  
156     In  The  Oil  Patch/  Episode  22-­‐‑Senator  Carlos                
        I.  Uresti-­‐‑SHALE  Oil  &  Gas  Business  
        Magazine  
157     In  The  Oil  Patch/  Episode  35-­‐‑Jason  Isaac  &                
        Carlos  Uresti-­‐‑SHALE  Oil  &  Gas  Business  
        Magazine  
158     In  The  Oil  Patch/  Episode  44-­‐‑State  of                      
        Energy  2015  (San  Antonio)-­‐‑SHALE  Oil  &  
        Gas  Business  Magazine  
159     In  The  Oil  Patch/  Episode  8-­‐‑Texas  Senator                  
        Carlos  Uresti-­‐‑SHALE  Oil  &  Gas  Business  
        Magazine  
160     Innovation  key  to  promise,  challenges  of                       
        Eagle  Ford-­‐‑Sen.  Uresti  website  
161     Innovation  will  help  achieve  the  promise,                      
        meet  the  challenges  of  the  Eagle  Ford  Shale-­‐‑
        Sen  Uresti  website  
162     InterimReport84th  State  Legislature                               
        document  
163     Issues-­‐‑Sen.  Uresti  website                                     
164     Laura  Jacob'ʹs  Resignation  letter                                
165     Expert  Jordan  Graphics                                            
166     LNG  The  Emergence  of  a  New  Global                             
        Market-­‐‑SHALE  Oil  &  Gas  Business  
        Magazine  article  
167     Legislative  Reference  Library-­‐‑Legislators                      
        and  Leaders-­‐‑Committee  information  
        website  
168     Loan  Repayment  Summary  document                                     
169     Expert  Magarian  Graphics                                             
170     March  2013-­‐‑Message  from  Senator  Carlos                          
        Uresti-­‐‑Eagle  Pass  Business  Journal  
171     Message  From  Carlos  -­‐‑  October  2014  Sen.                       
        Uresti  website  
172     Message  From  Carlos  -­‐‑  August  2015  Sen.                        
        Uresti  website  
173     Message  From  Carlos  -­‐‑  December  2016  Sen.                      
        Uresti  website  
174     Mexico  may  let  foreign  companies  enter  its                       
        Eagle  Ford  next  year-­‐‑San  Antonio  Express-­‐‑
        News  article  
175     Oil  and  Gas  Update  Sen.  Uresti  website                           
176     Plan  to  Convert  Roads  to  Gravel  Begins                           
        Despite  Pushback-­‐‑The  Texas  Tribune  article  
177     Policymakers  Must  Be  Dynamic-­‐‑SHALE  Oil                          
        &  Gas  Business  Magazine  article  
178     Senate  passes  Uresti'ʹs  county  roads  bill-­‐‑Sen.                 
        Uresti  website  
179     Senator  Carlos  I.  Uresti  presented                                 
        Christmas  gifts  to  local  children  and  senior  
        citizens-­‐‑EPJ  article  
180     State  Senator  Carlos  I.  Uresti  -­‐‑  Texas  Senate                
        District  19  -­‐‑  E-­‐‑Newsletter  for  March  2012  
181     Battered  county  roads  deserve  an                                   
        investment  from  the  rainy  day  fund-­‐‑Sen.  
        Uresti  email  
182     DS  to  SB  letter  022615                                             
183     Texas  Gov.  Approves  $225M  Fund  For                                
        Eagle  Ford  Roads-­‐‑Law360  article  
184     CU  GC  Texts                                                          
185     Senator  Uresti  Commends  Baker  Hughes                               
        for  Decision  to  Disclose-­‐‑The  Texas  State  
        Senate  press  release  
186     Sen.  Uresti  appointed  to  the  Energy                               
        Council-­‐‑The  Texas  State  Senate  press  
        release  
187     The  Texas  State  Senate-­‐‑  Press  Items  Senator                
        Carlos  I.  Uresti  website  
188     The  Texas  State  Senate-­‐‑Senator  Carlos                        
        Uresti  District  19  website  
189     Transportation  Update-­‐‑June  2014-­‐‑Sen.                        
        Uresti  website  
190     US  Energy  Boom    More  Than  Just  an  Oil                       
        Story  
191     Uresti  Hurricane  Harvey  Relief  press                            
        release  
192     Uresti  Iolta  Acct.  7969  Bank  Records                           
193     Uresti  Marine  Files                                               
194     Uresti  to  Attend  2014  Texas  Tribune                            
        Festival-­‐‑Sen.  Uresti  website  
195     Uresti  NL2014  Capitol  Update  newsletter                         
196     AM  to  SB  letter                                                  
197     Original  Petition  DC  vs  FWLL-­‐‑SATX,                           
        FWLL,  SB,  SS  
198     SS  to  CC  letter                                                  
199     Uresti  Personal  Financial  Statement  2014                        
        correction  1  
200     Uresti  Personal  Financial  Statement  2014                        
        (2015)  correction  2    
201     Uresti  Personal  Financial  Statement  2014                        
        (2015)  correction  3  
202     Uresti  Personal  Financial  Statement  2014                        
        report  org  
203     Uresti  Personal  Financial  Statement  2015                        
        (2016)  corrected    
          
204     Uresti  Personal  Financial  Statement  2016                        
        report  
205     CU  and  GC  emails  Re  Scanned  image  from                       
        MX-­‐‑C402SC  
206     CU  and  GC  emails  Re:  Mexican  banker                           
        charged  in  bilking  is  collared  in  S.A.  
207     LJ  DC  CU  and  GC  emails  Fwd  Breakdown                         
        report  
208     LJ  DC  CU  and  GC  emails  FW  New                                
        breakdown  
209     DC  LJ  CU  emails  Fwd  Breakdown  report                          
210     DC  to  CU  LJ  SB  email  Re  Fwd  Breakdown                       
        report-­‐‑Response  to  Ex  209  
211     DC  to  LJ  CU  SB  email  Re  Breakdown  report                    
212     DC  LJ  CU  emails  Fwd:  RE:  Breakdown                            
        report-­‐‑Response  to  Ex  211  
213     DC  LJ  CU  emails  Fwd-­‐‑List  of  wire  transfers                
        completed  7-­‐‑7  to  1-­‐‑5-­‐‑15  
214     DC  to  CU  email  Re  FWLL                                         
215     DC  to  CU  email  Re  FWLL-­‐‑Response  to  Ex                     
        215  
216     DC  to  CU  email  The  breakdown                                   
217     MK  to  RT  email  Fwd  Memo                                        
218     Email  attachment  to  Ex  217-­‐‑Discussion                        
        Points  Memo  
219     LJ  DC  CU  email                                                   
220     SB  to  DC  email  FWLL  Business  Overview                         
221     Email  attachment  to  Ex  220  FWLL  Business                      
        Overview  document  
222     email  Untitled  attachment  17388                                  
223     RT  AW  email  Comprehensive  Report  Stan                          
        Bates  
224     LJ  DC  CU  GC  email  Fwd  Breakdown  report                       
225     LJ  DC  CU  GC  email  121314  re  Breakdown                        
        report  
226     CU  AM  email  Fwd  Four  Winds  Status                             
        CONFIDENTIAL  
227     SB  email  Beauden  Est-­‐‑Sand  Warehouses-­‐‑4                    
        winds  
228     Email  attachment  to  Ex  227  Beauden  Est-­‐‑                    
        Sand  Warehouses-­‐‑4  winds-­‐‑042714  
          
229     SB  to  CU  BL  email  EmFracExchange  Sand                         
        Mine  &  FWL  Agreement  signed  
230     Email  attachment  to  Ex  229  Sand  FWL                           
        Agreement  signed  all  
231     SB  to  BL  AM  email  FWLL  Business                               
        Overview  
232     Email  attachment  to  Ex  231  FWLL  Business                       
        Overview  document  
233     SB  to  CU  email  Basic  Performa-­‐‑FWLL  LLC                      
        30-­‐‑50  Frac  Sand  Investment  
234     SB  to  AM  BL  SS  GH  CU  MA  email                                
        ProForma  Inc  Statement-­‐‑FWL-­‐‑Silo  Project  
235     SB  to  CU  MA  SS  JB  LJ  DT  MP  email  Feature                   
        for  FourWinds  Magazine  Article  
236     CU  email  seekingalpha.com  article                                 
237     SB  CU  email  Re  Repayment  of  Investment                         
238     CU  to  SB  email  Fwd  news  clip  -­‐‑  Eagle  Ford                
        Shale  hits  1  billion  barrels  -­‐‑  SA  Express-­‐‑
        News  
239     CU  to  SB  SS  email  Fwd  news  clip-­‐‑Focus  on                  
        top  spots  to  boost  US  oil  output  even  as  
        well  permits  
240     CU  to  SB  email  Fw  Shocker  of  2014  Oil  at                    
        $60  a  barrel  
241     CU  to  SB  email  Fw  Less  drilling,  but  more                    
        production  
242     SV  to  LJ  CU  CU  jr  email  Re  Disbursement                      
        authorizations  
243     CU  to  SB  SS  GC  Re  news  clip-­‐‑Marathon  Oil                  
244     CU  SV  LJ  CUjr  emails  Re  Scanned  image                         
        from  Four  Winds  Logistics  
245     SS  to  Verghese  CU  email  Escrow                                  
        Agreement  
246     SB  to  MA  email  Fwd  FWLL,  LLC-­‐‑Proof  of                      
        Fund  
247     CU  to  RV  HN  SB  GH  HR  email  Fwd  news                         
        clip-­‐‑Traders  Use  Trucks,  Trains  to  Ease  
        West  Texas  Oil  Glut-­‐‑Bloomberg  News  
248     SB  to  CA  CU  email  FWLL  LLC  Financials                         
249     LJ  to  SB  DC  CU  MA  email  Sand  Inventory                       
        and  Investor  breakdown  
250     Email  attachment  to  Ex  249  FWL  DC  080514                      
251     EN  to  CU  SB  email  FW  FourWinds                                 
        Logistics  documents  
252     Email  attachment  to  Ex  251  FWLL  Business                       
        Overview  document  
253     SB  to  CU  MA  email  FWL  BOLs                                    
254     CU  to  SB  email  FOURWINDS                                        
255     CU  to  SB  HN  SV  MA  GH  HR  email  Exciting                     
        phenomenal  and  awesome  opportunities!  
256     RS  CG  RS  CU  emails  FW  FWL  LLC-­‐‑                            
        Investor  Package  
257     CU  AM  email  Fwd  FWL  Status-­‐‑                                 
        CONFIDENTIAL  
258     CU  to  SB  EN  SS  GC  email  FW  news  clip-­‐‑                   
        Where  the  U.S.  gets  its  domestic  oil  and  gas  
259     CU  to  HR  email  re  MOU                                          
260     SB  to  CU  email  Cost  of  Sand  Breakdown  at                    
        the  Mine  
261     GH  to  CU  SB  email  re  FOURWINDS                                
        LOGISTICS  -­‐‑  PEMEX  
262     SB  to  CU  email  Fwd  Four  Winds  Cashed                         
        Check  
263     SB  to  CU  MA  email  Fwd-­‐‑fwll  llc  dep                        
        account  bal  summary  
264     SB  to  CU  FWLL  Spot  Selling  Investment                         
265     Email  attachment  to  Ex  264  FWLL  Spot                          
        Selling  Investment  
266     SB  to  GH  MA  CU  email  Fw_  ProForma  Inc                       
        Statement  -­‐‑  Silo  Project  
267     Email  attachment  to  Ex  266                                      
        ProFormaIncStatementSiloProject2  
268     Email  attachment  to  Ex  266  4  Winds                            
        Package  
269     SB  to  CU  DC  MA  email  Fw  FWL-­‐‑DC  MOU                       
270     Email  attachment  to  Ex  269  MOU  FWL-­‐‑DC                      
271     HN  to  CU  jr  email  Re  disbursement                             
272     RM  RT  GC  CU  emails  FW_  Order  in  Stan'ʹs                     
        Case  
273     SB  to  CU  GC  email  LOI  Four  Winds                             
274     CU  SV  SB  CG  GH  email  RE  CC  FWL-­‐‑20-­‐‑40                  
        Cut  Sand  ISO  Analysis  
275     SS  to  CU  SB  EN  JB  email  Frac  Sand  Demand                   
        to  Increase  300%  by  2016  -­‐‑  Yahoo7  Finance  
        Australia  
276     Email  122016  French  to  Copeland                                     
277     Cantu  Waive  of  Attorney  Client  Privilege                           
278     SB  to  GH  CU  MA  email  FWLL  Business                               
        Overview  Silo  Facilities  V.3  
279     Email  attachment  to  Ex  278  FWLL  Business                          
        Overview  Silo  Facilities  V.3  
280     SB  to  CU  email  FWLL  Investment  Letter                             
        Overview  
281     Email  attachment  to  Ex  280  FWLL                                    
        Investment  Letter  Overview  
282     CU  to  AH  email  FW  Power  Point,  Business                          
        Plan,  &  Pre  Forma  
283     SB  to  CU  AM  email  FWLL  JV  Agreement                              
        (1)  
284     Email  attachment  to  Ex  283  FWLL  JV                                
        Agreement  (1)  
285     SB  to  MA  CU  GH  email  FWLL  Investment                             
        Letter  Overview  
286     Email  attachment  to  Ex  285  FWLL                                    
        Investment  Letter  Overview  
287     SS  to  FracXchange  SB  CU  email  FW  for                             
        review  
288     SB  to  GH  MA  CU  email  Fw  ProForma  Inc                            
        Statement  -­‐‑  Silo  Project  
289     Email  attachment  to  Ex  288  Fw  ProForma                            
        Inc  Statement  -­‐‑  Silo  Project  
290     Email  attachment  to  Ex  288  4  Winds                                
        Package  
291     SB  to  RV  email  Cease  and  Desist  NOW                              
        FourWinds  Logistics  
292     SB  to  CU  email  BP-­‐‑FWLL  30,000  ton  20-­‐‑40  -­‐‑              
        30-­‐‑50-­‐‑40-­‐‑70  Mesh  Sales  Agreement  
293     Email  attachment  to  Ex  292                                          
294     SB  to  CU  email  BP  -­‐‑  FWLL  65000  ton  100                      
        Mesh  Sales  Agreement  6.20.14  signed  
        agreement  final  version  2nd  changes  
295     Email  attachment  to  Ex  294                                          
296     SB  to  CU  MA  GH  email  Fwd  FourWinds-­‐‑                           
        Trans  Business  Plan  2  of  2  
297     Email  attachment  to  Ex  296  FourWinds  -­‐‑                       
        Trans  Business  Plan  
298     Email  attachment  to  Ex  296  ProForma  Inc                         
        Statement  -­‐‑  Silo  Project  
299     SB  to  CU  email  FWL.Sand.Silo-­‐‑Stan                              
300     Email  attachment  to  Ex  299  FWL.Sand.Silo-­‐‑                     
        Stan  
301     SB  to  CU  email  Cost  of  Sand  Breakdown  at                      
        the  Mine  
302     LJ  to  CU  Email  re  payment  Breakdown                             
303     CU  fwd  Ex  302  to  himself  FW  Breakdown                          
        DC  
304     CU  email  FW  news  clip-­‐‑Web  visitors  can                       
        walk  around  a  fracking  site-­‐‑
        FierceEnergy.com  
305     FWLL  Irasel  Sands  MOU  V  2  Final                                 
        document  
306     CU  jr  SV  email  RE-­‐‑disbursement7                                
307     CU  to  MA  email  Fwd  FWLL  LLC  Proof  of                          
        Fund  
308     Email  attachment  to  Ex  246  Letter  to  Stream                    
        Realty  
309     CU  to  SV  HN  HR  SB  GH  email  Fwd  news                          
        clip-­‐‑Traders  Use  Trucks  
310     SB  to  CU  Email  Re:  FOURWINDS                                     
311     CA  to  SB  email  110614  100%  funding  non                         
        recourse  loan  
312     CU  to  DC  email  Fwd  News  Clip  U.S.  crude                       
        output  hits  highest  level  in  28  years  behind  
        shale  boom  
313     CU  to  DC  email  Fwd  FW  news  clip-­‐‑UTSA                        
        Cline  Shale  could  have  $20  billion  impact-­‐‑
        SA  Express-­‐‑News  
314     CU  to  DC  email  Fwd  FW  news  clip-­‐‑Eagle                       
        Ford  helps  U.S.  oil  exports  hit  highest  level  
        in  15  years  
315     CU  to  DC  email  Fwd  FW  news  clip-­‐‑New                         
        distribution  facility  will  hire  20  south  of  San  
        Antonio  
316     CU  to  DC  email  Fwd  FW  news  clip-­‐‑Sand                   
        for  shale  moving  through  San  Antonio-­‐‑SA  
        Express-­‐‑News  
317     CU  to  DC  email  Fwd  FW  news  clip-­‐‑Texas,                 
        North  Dakota  tell  happier  shale  tales  than  
        California  
318     CU  to  DC  email  Fwd  FW  news  clip-­‐‑UTSA                   
        Cline  Shale  could  have  $20  billion  impact  
319     CU  to  DC  email  Fwd:  FWL  BOLs                               
320     Email  attachment  to  Ex  319  FWL  BOLs                        
321     DC  to  CU  email  Fwd  GoFundMe  for  'ʹNicole                  
        Cantu  burial  fund'ʹ  
322     LJ  CU  DC  email  Fwd  Halliburton                              
323     CU  to  DC  email  Fwd  Anadarko  1,000  Eagle                   
        Ford  wells  and  counting  
324     CU  to  DC  email  Fwd  Condos  to  hit  auction                 
        block  
325     CU  to  DC  email  Fwd  Eagle  Ford  and                         
        Permian  Basin  tussle  to  dominate  state  oil  
        ranking    
326     CU  to  DC  email  Fwd  Marathon  sells                          
        overseas  unit  to  hone  focus  on  Eagle  Ford  
327     Email  CU  to  DC  Fwd  Permian  Basin'ʹs  oil                   
        and  gas  activity  continues  to  defy  
        expectations  
328     Email  CU  to  DC  Fwd  Report  10  percent                      
        more  Eagle  Ford  wells  this  year  
329     Email  CU  to  DC  Fwd  Sanchez  doubles                         
        down  on  Eagle  
330     Email  CU  to  DC  Fwd  Shale'ʹs  ethane  bounty                 
        ignites  petrochemical  boom  
331     Email  CU  to  DC  Fwd  Oil  futures  choppy                     
        ahead  of  US  crude  stockpile  data  
332     Email  DC  to  CU  Fwd  The  son  I'ʹm  allegedly                
        harassing  Ricky  Olivarez  
333     Photo  RO  112214                                                
334     DC  to  CU  email  Fwd  This  is  her                            
        mastermind  
335     Text  TT  to  DC  112014                                       
336     Text  NT  to  VT  010415                                       
337     DC  Record  Report  Giese                                      
338     DC  Harlingen  Policy  Report  Summary                         
339     CU  to  RV  email  Fwd:  FWL-­‐‑  Investor                     
        Package  
340     CU  to  RV  email  Fwd:  Proof  of  Funds  FWLL                
        &  Excuted  Escrow  
341     CU  to  SS  SB  GC  email  Fwd  news  clip  Oil                
        tycoon  Pickens  predicts  return  to  $100  a  
        barrel  
                                                                     
342     CU  Marines  Experience  1006  Visual                        
        Summary  
343     JVA  Authorized  $640K  in  Operating  Costs                 
        1006  Visual  Summary  
344     Stan  Bates  FWLL  Draws  1006  Visual                       
        Summary  
345     CU  Charity  Service  1006  Visual  Summary                  

346     CU  Public  Statements  re  Eagle  Ford  Shale               
        1006  Visual  Summary  
347     CU  Efforts  to  Assist  DC  1006  Visual                    
        Summary  
348     FWL-­‐‑SRT  JVA-­‐‑Source  Ex  368  SB  Fraud                
        Timeline  
349     Bond  Multimedia  Settlement  Agr-­‐‑Source  Ex              
        368  SB  Fraud  Timeline  
350     Cowboy  Chevrolet  v  B&B  Complaint-­‐‑                     
        Source  Ex  368  SB  Fraud  Timeline  
351     Judgement  Kingdom  Chevrolet-­‐‑Source  Ex                  
        368  SB  Fraud  Timeline  
352     Judgment  John  D.  Sauder  Auto-­‐‑Source  Ex               
        368  SB  Fraud  Timeline  
353     Judgment  Jude  Bond  and  Bond  Mulimedia-­‐‑               
        Source  Ex  368  SB  Fraud  Timeline  
354     Kingdom  Chevrolet  v  B&B  Aff  of  Service-­‐‑             
        Source  Ex  368  SB  Fraud  Timeline  
355     Kingdom  Chevrolet  v  B&B  Complaint-­‐‑                    
        Source  Ex  368  SB  Fraud  Timeline  

356     Petition  (Dft  Orig)  Bates  Energy  v  COFS-­‐‑           
        Source  Ex  368  SB  Fraud  Timeline  
357     Petition  (Pltf  Orig)  Bates  Energy  v  COFS-­‐‑          
        Source  Ex  368  SB  Fraud  Timeline  
358     Petition  Caldwell-­‐‑Baker  v  Bates,  Bravo,              
        Bates  Energy-­‐‑Source  Ex  368  SB  Fraud  
        Timeline  
359     Salacia  v  FWLL  Order  Staying                            

360     Salacia  v  FWLL  Petition  for  Damages-­‐‑                
        Source  Ex  368  SB  Fraud  Timeline  
361     Sauder  v  B&B  Complaint-­‐‑Source  Ex  368  SB            
        Fraud  Timeline  
362     Suggestion  of  Bankruptcy  for  FWLL-­‐‑Source             
        Ex  368  SB  Fraud  Timeline  
363     Bank  Records  MX  Group  SS  part  2                       

364     Bank  Records  MX  Group  SS  part  1                       

365     Bank  Records  JPMC  FWL  MAV  Bank                         
        account  info  
366     Bank  Records  JPMC  FWL  TSL  Bank  account                
        info  
367     Bank  Records  JPMC  FWL  DC  Bank  account                 
        info  
368     SB  Fraud  Timeline                                         

369     CU  Military  Records                                       

370     Text  CU-­‐‑RV                                              

371     Text  CU-­‐‑JS                                              

372     Text  CU-­‐‑MO                                              

373     Cantu  v.  FWLL  SATX  POP  to  SB  052815                  

374     Text  CU  SS  SB  GC                                        
375     Hoyos  SEC  Attestation  of  Non-­‐‑Registration            

376     (FWL  Bankruptcy)  Aff.  Brandy  Houston                    
          

377     (FWL  Bankruptcy)  Aff.  Guillermo  Hoyos                              

378     (FWL  Bankruptcy)  Aff.  Richard  Thum                                 

379     (FWL  Bankruptcy)  Aff.  Shannon  Smith                                

380     (FWL  Bankruptcy)  Mtn  for  Summary                                   
        Judgement  
381     3  Additional  Canceled  Lewis  Energy  POs                            

382     6.30.14  Balance  Sheet  (11_19_14)                                    

383     SB  to  Edinger  email  sending  Lewis  Invoice                        

384     Advertisement  for  B&B  Marketing                                     

385     Aff.  Denise  Cantu                                                    

386     MA  to  CU  emails  FWLL  Business  Plan                               

387     MA  to  CU  emails  FWLL  Hoyos                                        
        Commission  Agreement  Broker  Agreement  
        FWLL  Hoyos  
388     Alonzo  SEC  Attestation  of  Non-­‐‑Registration                      

389     Alonzo  SSFCU  Bank  Account                                           

390     SB  to  DS  CU  email  JVA  revised                                    

391     SB  to  Sauder  email  Re:  Feb  20-­‐‑21-­‐‑22  Mailer-­‐‑            
        B&B  
392     Bates  Bank  Acct  7611                                                

393     SB  to  MA  SS  email  Initial  Funding  Request                       

394     SB  to  CU  e  mail  FW:  Power  Point,  Business                      
        Plan,  &  Pre  Forma  -­‐‑  Investor  Materials  
395     SB  to  HN  GH  CU  MA  email  FWL    Investor                         
        Package  
396     Bates  emails  Uresti  to  call  McStay                                

397     Bates  FWL  Pitch  Excerpts  Transcribed                               
398     Bates  sending  Bielman  Cancelled  Lewis                  
        Energy  PO  FR003848  
399     Bates  sends  FWLL  Inventory  Location  &                 
        Address  to  Navarrete  
400     Bates  sends  Navarrete  and  Swannie  4W                  
        Sand  Inventory  
401     Bohica  Bank  of  America                                  

402     CG  to  RT,RS  email  -­‐‑  Re:  Involuntary               
        Bankruptcy  
403     BH  to  GC  RS  email  –  Re:  Richards  Money             

404     SB  to  SS  GC  email  Fwd:  Accounting                    

405     RS  to  CG  Ray  email  Documents  in  the                 
        FWLL  Matter  
406     RS  to  RT  GC  email  –  SB                               

407     Demand  Letter  from  Valdez  DC  attorney                 

408     SV  to  GC  SB  email  –  Update                           

409     Canceled  Lewis  Energy  P/O  FR003848                     

410     DC  email  to  CU  re  Letters                             

411     DC  agrees  on  CU  commission                             

412     SB  Frost  account  no.  520197378  checks                 
          
413     Promissory  note  Texas  Silica  Logistics  2.4            
        mil  
414     MOU  FWL-­‐‑  MAV                                          

415     HN  to  DS  email  Fwd:  Meeting  with  Stan               

416     Bahanie  to  GH  CU  HN  email  Fwd:                       
        Opportunity  
417     GH  to  CU  email  ConsejoSano  por  la  salud             
        deal  Hispano  
418     HN  to  CU  email  Re:  Consultant  Agreement              

419     GH  to  CU  email  Guillermo  Hoyos  –                     
        Consejo  Sano  
420     GH  to  Enrique  Guillermo  Hoyos  –                              
        Aqualuxus  for  Mexico  
          
421     SB  to  DS  email  JV  breakdown                                  

422     AM  to  SB  Investment  in  Sand  Operation                       
423     SB  to  MA  email  Basic  Performa  –  FWLL,                      
        LLC  30/50  Frac  Sand  Investment  
424     SB  to  DS  email  Re:  San  Contract                             

425     CU  to  SB  Re:  JVA  for  FWL  -­‐‑DC                            

426     Letter  from  SB  SS  to  AM  –  purchase                         
        contract  of  FracXchange  
427     SB  to  AM  email  Re:  Texas  Silica  JV                         

428     SB  to  DS  email  Re:                                            
        Communications/Tightening  up  money  
        flow  
429     SB  to  MA  email  Re:  2040  sand  order                         
430     CU  to  AM  email  Re:  FW  Logistics                             
431     SW  to  SB  email  Return  of  investment                         
432     SV  to  SB  email  –  Regards                                     
          
433     Certificate  of  Corporate  Resolution                            
        Application  SB  SS  
434     SB  to  HN  SV  email  FWLL  Inventory                            
        Location  &  Address  
435     FWLL  Bankruptcy  petition                                        
436     SV  to  SB  email  Re:  Report  of  PO’s  of  FW-­‐‑Mx            
437     SV  to  LJ  email  FW:  Meeting                                   

438     SV  to  LJ  email  Deposits                                       

439     RT  to  LJ  email  -­‐‑  Re:  K1                                  

440     SV  to  SB  LJ  email  -­‐‑  Status                               
441     SV  to  WD  email  –  Re:  BS  and  IS                            
442     SV  to  LJ  email  –  FW:  Our  income  as  out                   
        distribution  last  year  
443     DC  to  LJ  email  –  accounting                                  
444     SV  to  LJ  SB  email  –  financial  statements                  
445     LJ  to  SV  email  –  RE:  Information                           
446     LJ  to  SV  SB  HN  email  -­‐‑  RE:  Info  request              
447     FWLL  Gondola  Cars  spreadsheet                                 

448     GH  to  CU  email  –  RE:  Exciting,  phenomenal                 
        and  awesome  opportunities!  
449     GH  to  CU  email  –  Guillermo  Hoyos  –                        
        Fourwinds  update    
450     HN  to  HR  CU  SS  SB  email  –  Re  Meeting.pdf                

451     PY  to  CU  email  Fwd:  carta  sin  attachments                 

452     CU  to  HR  email  –  Re:  FWLL  -­‐‑  MX                        

453     CU  to  SV  GH  email  -­‐‑  Re:  CCFWL  –  20-­‐‑40             
        Cut  Sand  ISO  Analysis  
454     GH  to  SV  email  -­‐‑  Re:  CCFWL  –  20-­‐‑40  Cut            
        Sand  ISO  Analysis  
455     GH  to  SB  email  –  FW:  Guillermo  and                        
        Richard  
456     SV  to  CU  SB  HR  email  –  Re:  JVA                           

457     Sales  agreement  Between  MA  &  Petro  &                       
        H2O  Global  Remediation  LLC     
458     RT  to  ST  KB  email  –  Fwd:  FW  –  Capital                   
        Venture  JVA  (Uresti  REDLINE  revisions  
        after  revision  by  Hernando)  
459     Four  Winds  Investment  Time  Line                              

460     RT  to  GH  HN  email  –  Items  we  discuss                     
        concerning  Four  Winds  
461     MOU  JVA  between  FLL  and  Impulsa                             
        International  FW  LLC  
462     JVA  FWL  –  MX  LLC                                             

463     RT  to  SB  Letter  –  Re:  Dissolution  of  JV                  

464     Chase  Account  no.  589558761  Balance                          
        Summary  $  2,400,000.00  
465     GH  to  CU  email  Guillermo  Hoyos  –  Carlos                   
        Uresti      
466     Impulsa  PowerPoint                                                   

467     Escrow  and  Disbursement  Agreement                                  
        FWL-­‐‑  MAV  LLC  
468     CU  Jr.  to  SV  email-­‐‑  Disbursement                              
469     JD  to  CU  email-­‐‑  Fw:  Draft  letter  to  DD                     
          
470     GH  to  CU  email  –  Guillermo  Hoyos  –                             
        Proyecto  Silos  FWLL  
          
471     SV  to  GC  SB  email  –  Re:  Proposal                               

472     Letter  to  DC  –  Notice  COO  Shannon  Smith                        
        Resignation    
473     Email  MA  to  CU  -­‐‑  AM  POF  Letter                              

474     SB    to  EN  email  –  Re:  Lewis  Energy  PO                        

475     JL  to  SB  -­‐‑  Email  canceling  Lewis  Energy                     
        Purchase  Order  FR003848    
          
476       GH  to  CU  -­‐‑  Email  Follow  up  from  Consejo                  
        Sano  meeting  
477     GH  to  SV  Email  -­‐‑  RE:  CC  FWL  -­‐‑  20-­‐‑40  Cut            
        Sand  ISO  Analysis  
478     GH  to  CU  email  -­‐‑  GUILLERMO  HOYOS  -­‐‑                       
        FOURWINDS  UPDATE  
479     SB  to  AM  email  –  Re:  Need  your  help                           
          
480     SV  to  SB  RT  LJ  email  -­‐‑    Chase                              
        MOVEMENTS  resume  of  FW-­‐‑MX  
481     DS  to  SB  email  –  Formal  request                                 
          
482     LJ  to  SV  email  -­‐‑  RE:  Info  request                           

483     GH  to  CU  email  -­‐‑  KH  -­‐‑  Consorcio  Impulsa.                

484     Federal  Docket-­‐‑  FWLL  LLC  vs  Buffalo                           
        Proppants  LLC  et  al  
          
485     Financial  Position  of  Shannon  Smith  as  of                       
        May  1,  2015  

486     SB  to  RT  email  –  Fw:  Fourwinds  Logistics,                     
        LLC.  –  Investor  Package    
          
487     FWL  Notes-­‐‑  DC  for  operating                                   

488     FWL-­‐‑MX  2040  Investment  Breakdown                               
          
489     FWL-­‐‑SRT  JVA                                                      

490     Gov'ʹt  Chart  of  Lewis  Energy  Purchases                          

491     Gov'ʹt  Summary  Chart  FWL  to  Bohica  to                          
        Bates  
492     SB  to  CU  email  -­‐‑  Proof  of  Funds  FWLL  &                   
        Excuted  Escrow  -­‐‑  Investor  package  
493     LJ  to  SV  emails  Sand  Recap                                      

494     LJ  to  RT  email  -­‐‑  sand  and  bank  reports                    

495     LJ  to  RT  email  -­‐‑    Report  -­‐‑  SRT  Sand  Recap            
          
496     LJ  to  SV  email  –  Financials  –  2014  Balance                   
        Sheet,  Profit  &  Loss,  Statement  of  Cash  
        Flows  
497     LJ  to  SV  email  –  Financials  -­‐‑2015  Profit  &                
        Loss  YTD,  Statement  of  Cash  Flows    
          
498     LJ  to  SV  email  –  Statement  of  cash  flows                     
        JAN-­‐‑MAR  Balance  Sheets  
          
499     LJ  to  SV  SB  HN  email  –  Re:  Info  request                     
        MAV  MX  SRT  DC  Sand  Inventory  
500     LJ  to  SV  email  Monthly  balance  sheet                           
          
501     SB  to  CU  Re:  Basic  Performa  -­‐‑  FWLL,  LLC.                  
        30/50  Frac  Sand  Investment  
502     Lewis  Energy  PO  given  to  Thum  -­‐‑  FR003848                   

503     Magic  Barite-­‐‑FWLL  JVA                                           
504     Memo  meeting  between  SS  and  SB  by  GC                     

505     SB  FourWinds  Pitch  to  Potential  Investors                  
        Recorded  by  GH  mp3  slip  sheet  1  
506     MX  2040  Agreement  for  Division  of  Assets                  
        and  Indemnification  
          
507     HN  to  CU  GH  email  Fwd:comisiones  -­‐‑                     
        Newco  Commissions  Plan  
508     HN  to  CU  GH  email  Legal  Memo  of                          
        Consejo  Sano  
                           
509     Ownership  Schedule  A                                          

510     EN  to  GC  email  Purchase  Order  financing  -­‐‑             
        Trinity  Advertisement  
          
511     Remove  Smith  from  FWLL  Chase  Account                       

512     AM  to  SB  email  Repayment  of  Investment                    

513     AM  to  SB  email  FW:  Return  of  Investment                  
                             
514     Rosado  Compliance  Letter  and  record  docs                   
          
515     GC  to  AM  RP  email  FW:  Texas  Silica  JV                   
          
516     DS  to  SB  email  Re:  NOLA  Inventory  report:                
        Wet  sand  –  DS  questions  funding  
517     SS  Indictment                                                  
          
518     SS  Plea  Agreement                                             
          
519     SS  Sealed  Addendum  to  Plea  Agreement                       

520     SS  to  SB  texts,  April  10  -­‐‑  June  16,  2015            
          
521     Letter  SS  Removal  from  FWLL  Frost                          
        Accounts  
522     SB  to  GC  email  Fwd:  Ref  Weekly                            
        Recap/JVA  –  DS  requests  better  accounting  
          

523     Thum  Civil  Suit  v  FWLL                                       

524     Thum  Notes  -­‐‑  Bad  News  no  sales  since  12-­‐‑           
        27-­‐‑14  
          
525       TX  SOS  FWL-­‐‑DC                                             
          
526     CU  to  GC  email  Re:  Four  Winds                              
        CONFIDENTIAL  -­‐‑  BP  INVX  lawsuit  update  
        to  AM  
          
527     SV  to  LJ  SB  email  Info  request  -­‐‑  questions            
        sand  inventory  
528     SV  to  LJ  SB  email  Sand  analysis  with                      
        storage  and  demurrage  fees  -­‐‑  questions  
        sand  inventory  
          
529     SV  to  LJ  SB  email  FW:  FW  MX  (for  taxes                  
        purposes)  -­‐‑  correct  statements  for  taxes  
          
530       ZSV  TX  SOS  Cert  of  Formation                              
          
531     Bates  executive  employment  agreement                          
          
532     Group  text  message  SS,  SB,  CU,  GC                          

533     SB  to  CA  and  SU  email  FWLL,  LLC                           
        Financials  -­‐‑  balance  sheet  and  profit  loss  
        2014  
534     LJ  to  SB  DC  CU  MA  email  Sand  Inventory                   
        and  Investor  breakdown  
535     CU  to  RV  email  Fwd:  Fourwinds  Logistics  –                 
        attached  FWL  business  plan    
536     FWL  Gondola  car  spreadsheet                                   

537     LJ  to  UC  email  Re:  Breakdown  of  profit                    
        sharing  
538     Chavira  to  Cain  email  TGF  certificate  of                   
        validation  
          

539     SB  to  CU  email  FWL  cashed  Check  –  Van               
        Den  Bosch  
540     LJ  to  CU  email  Re.  Denise  Cantu  –                    
        breakdown    
          
541     DC  to  CU  email  Promissory  note  (2k5)DC                

542     SB  to  CU  GC  email    LOI  FWL  9-­‐‑18-­‐‑14            
          
543     GH  to  CU  email  RE:  Exciting,  phenomenal               
        and  awesome  opportunities!  
          
544     CU  to  SB  email  Fwd:Items  from  Meeting  8-­‐‑          
        7-­‐‑14  –  FWL  terms    
          
545     SB  to  Bielman  email  FAX_Chase  Bank  –                  
        Account  Balance  Summary    
          
546     SB  to  Allyson  email  FWLL  Dep  account  bal             
        summary  –  SB  request  to  delete  altered  
        balance  
547     SB  to  AM  BL  SS  GH  CU  MA  email                       
        ProForma  Inc  Statement-­‐‑FWL-­‐‑Silo  Project  
548     SB  to  GH  CU  MA  SV  email  CC  FWL  20-­‐‑40            
        Cut  Sand  ISO  –  attachment  example  Stim  
        Lab  report  
549     SB  to  GH  SU  MA  email  FWL  Frost                       
        Insurance  Cert  
550     SB  to  GH  MA  SU  email  FWL-­‐‑MX  JVA                   

551     SB  to  DC  email  Re:_  Oct  pay  out                      

552     Navarette  MOU  8-­‐‑19-­‐‑14                               

553     JVA  FWL-­‐‑MXLLC  signed                                   

554     GC  to  LJ  DC  email  Re:  K1                              

555     DC  to  LJ  email  breakdown  –DC  request  for             
        Sand  sale  breakdown  
          556     DC  to  LJ  email  RE:pay  period  –  DC  request             
                  for  payment      
          557     LJ  to  SV  email  REVISED  –  MX  Sand  Escrow               
                  with  attachment  
          558     CU  MA  GH  spreadsheet  FWL  profits                         

          559     LJ  to  SB  &  Mangum  email  FW:  Proof  of                  
                  Funds  –  attachment  altered  statement    
          560     Eric  Nelson  Phone  Messages                                 

          561     Texts  Bates  &  Smith                                        

          562     Affidavit  of  V  Bench  and  FWL-­‐‑MX  LLC                  
                  chase  statements  
          563     CU  to  DC  email  breakdown  of  75k  over                   
                  12months  
                    
          564     CU  to  DC  email  Fwd:  FWL  BOLs  attached                  
                  spreadsheet  sand  gondola  cars    
                    
          565     DC  Arrest  record                                            
                    
          566     NR  hearing  09192014  cert                                   
                    
          567     WLL  Exhibit  1  -­‐‑  Schedules,  Statements  and            
                  Summary  #21  
                    
          568     FWL-­‐‑MX  Escrow                                             

          569     SB  to  AM  BL  SS  GH  CU  MA  email                         
                  ProForma  Inc  Statement-­‐‑FWL-­‐‑Silo  Project  
  
  
  
  
  
  
  
       
     Dated:    January  8,  2018.  

                                                   Respectfully  submitted,  

                                           By:     /s/  Tab  Turner  
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                                                   ATTORNEYS  FOR  DEFENDANT    
                                                   CARLOS  URESTI  
  
  
  
  
  
  
  
  
                                      CERTIFICATE  OF  SERVICE  
    
                  I   hereby   certify   that   on   January   8,   2018   I   electronically   filed   the  

foregoing  with  the  Clerk  of  Court  using  the  ECF  system,  which  sent  notification  

of  such  filing  to  all  counsel  of  record.  

                                                 By:     /s/  Tab  Turner  
                                                         Tab  Turner  
  
  
  
  
  
  
  
